   Case 1:25-cv-00776-NCM-VMS                          Document 2          Filed 02/11/25      Page 1 of 3 PageID #: 34




AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         ofof
                                                               District New   York
                                                                           __________

                      JOGINDER SINGH                               )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                v.                                         Civil Action No. 1:25-cv-00776
                                                                   )
        TOPLINE NYC CONTRACTING INC.,                              )
     TOPLINE NYC INC., GURPREET SINGH, and                         )
              LAKHVINDER SINGH                                     )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Emanuel Kataev, Esq.
                                           SAGE LEGAL LLC
                                           18211 Jamaica Avenue
                                           Jamaica, NY 11423-2327
                                           (718) 412-2421 (office)
                                           emanuel@sagelegal.nyc
                                           cc: e-service@consumerattorneys.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:          2/11/2025
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:25-cv-00776

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
    JOGINDER SINGH,
                                                                       Case No.: 1:25-cv-00776
                                            Plaintiff,
                                                                       RIDER TO SUMMONS
                      -against-

    TOPLINE NYC CONTRACTING INC.,
    TOPLINE NYC INC., GURPREET SINGH, and
    LAKHVINDER SINGH,

                                             Defendants.
    ---------------------------------------------------------------X
      1) TOPLINE NYC CONTRACTING INC.
         9219 101st Avenue,
         Ozone Park NY, 11416

      2) TOPLINE NYC INC
         118-14 Rockaway Boulevard,
         South Ozone Park, NY 11420

      3) GURPREET SINGH
         115-52 Lefferts Boulevard
         South Ozone Park, NY 11420

      4) LAKHVINDER SINGH
         9154 113th Street
         Richmond Hill, NY 11418
